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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO


 United States of America,
               Plaintiff,                    Crim. No. 25-21(GMM)
                      v.
 Danielle Bertothy (1),
               Defendant.


                                  MINUTES


Date: June 24, 2025
BEFORE HONORABLE GINA R. MÉNDEZ-MIRÓ
COURTROOM DEPUTY: Omar Flaquer-Mendoza
COURT REPORTER: Evilys Carrión

FOURTH STATUS CONFERENCE HELD on June 24, 2025, in Courtroom 6,
First Floor, Old San Juan Courthouse. The Conference began at 10:09
a.m. and ended at 11:28 a.m.

The Government was represented by AUSA Jeanette M. Collazo-Ortiz
(“AUSA Collazo”) and AUSA Corinne Cordero-Romo (“AUSA Cordero”).
The Defendant, Danielle Bertothy (“Defendant”), was represented by
retained counsel Jennie M. Espada-Ocasio (“Counsel Espada”).

The Court summarized the case’s relevant procedural history. It
requested a status update, since the jury trial is set for August
11,   2025.   The    Court   informed   it    intended    to     set   additional
deadlines regarding motions in limine, jury instructions, among
others. The Court, however, referenced the motion titled Notice by
Defendant In Advance Of Status Conference (“Docket No. 37 Motion”)
filed yesterday by Counsel Justin K. Gelfand (“Counsel Gelfand”),
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at Docket No. 37, and expressed concerns with the issues raised
therein, particularly those pertaining to discovery.

First, the Court inquired whether the Government had provided all
discovery to the Defense, as it previously reported that all Rule
16 discovery was complete and that there was only one issue
outstanding, that is: supplemental discovery regarding the K-9. To
this point, the Government clarified that all discovery had been
provided. The Government added it had provided all relevant K-9
documents. However, the Government reiterated that documents of
all investigations/ false-positives of the K-9 is overbroad and
burdensome. As to the Defense, Counsel Espada informed that Counsel
Gelfand inspected the empty cannister and the site of the fire.
Also, that the Defense expected the that the liquid would be
preserved so that an expert could test it, but they were only able
to examine the empty canister.

Second, the Court addressed the Defense’s expert witness as the
Court    had   set    Thursday,     June   26,   2025,    as    the    deadline      for
submission of the expert report. (Docket No. 36). In the Docket
No.     Motion,      the   Defense    informed     that        an     “undated      fire
investigation report” had been provided recently and that the
Government had yet to comply with Rule 16(a)(1)(G) duties to
disclose. Also, the Defense informed in the Docket No. 37 Motion
that it “may require and extension of the current deadline,” but
did not request such extension. The Court expressed concern since
nearly two months had elapsed, and any extension of time by the
Defense would alter the Court’s calendar as to trial and related
deadlines.     Therefore,     the    Court   requested         the    Government     to
clarify if this “undated report” was an updated version of the
previous report, since the Government had reported at the second
status conference held on April 23, that the Origin and Cause
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Report from the Government’s fire expert was received on April 17,
2025, and was immediately provided to the Defense on that date.
See Minutes (Docket No. 35). The Government clarified that its
expert report was indeed provided to the Defense on April 17, 2025.
As to the allegation that the Government has not complied with
Rule 16, AUSA Cordero argued that only the CV for the expert was
pending, which is usually provided with notice of expert on the
eve    of   trial.    In   addition,    AUSA   Cordero    expressed     that     the
Government      had   not    received    any    disclosures        regarding     the
Defendant’s expert or reciprocal discovery, which was requested at
the time the Government tendered its discovery to the Defendant.
Because as, to this date, the Government has not received a
response as to reciprocal discovery, it intends to file a motion
with the request. As to the Defense, Counsel Espada informed that
the expert had been retained but has not decided if it intends to
use this expert witness at trial. She argued that the Defense is
continuing to work as diligently as possible to fully comply with
expert disclosures and the Court’s deadline, but that those efforts
depended on additional information that had not been provided by
the Government, including the Government’s expert CV. To this
point, the Court indicated that the lack of the Government’s expert
CV and qualifications did not justify the Defense’s inability to
produce a report and comply with the deadline. This, since Counsel
Gelfand informed during the previous conference that the expert
was evaluating the documents provided at the time. See Minutes
(Docket No. 36). Also, the Court emphasized that the Defense would
have    ample   opportunity     to     question    the    Government     expert’s
qualifications during trial, and that not having the CV at this
time should not impede the defense from disclosing their expert’s
report. The Court warned that if the Defense was requesting an
extension of time as to the expert report, it had to present just
cause.
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Third,   the   Court    addressed    plea   negotiations.       The    Government
reported it received mitigation information from Counsel Espada
yesterday at 8:43 p.m. and had not had an opportunity to review
it. Notwithstanding, the Government indicated that a plea offer
would be tendered to the Defendant. AUSA Collazo informed that a
plea offer could be extended by tomorrow or the end of the week
and would only give the Defense until July 3 to accept or reject
the offer. AUSA Collazo emphasized that it would be the only and
best offer from the Government, as she expressed concerns with
motion practice and trial preparation considering the upcoming
deadlines and trial date in this case. When the Court inquired
about the Defendant’s intention to go to trial, Counsel Espada
explained that it was Counsel Gelfand who would need to meet with
the   Defendant    to    discuss     the    matter,   but       that   from     her
conversations with the Defendant she remained open minded as to
plea negotiations. To this point, Counsel Espada expressed that
she was in charge of gathering mitigation information but had faced
some challenges. She was able to provide the Government with a
basic mitigation statement but had yet to gather records from the
Metropolitan Detention Center (“MDC”) in Guaynabo and to make calls
with the Defendant’s sister and mother. Counsel Espada requested
assistance from the Court to obtain the MDC program review and any
certificates earned while at MDC. The Court granted the request
and will issue the corresponding order. Considering that the
Defendant needs to gather additional mitigation information, the
Government agreed to extend the deadline to receive mitigation
until this Friday, June 27, 2025, and plea offer will be tendered
to the Defendant by Monday. The Court then indicated that it would
set a deadline for the Defendant to inform if she will proceed to
trial or change her plea.
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Fourth, the Court addressed additional matters that the Defendant
raised in the motion filed at Docket No. 37, particularly those
regarding     privileged    communications        at     MDC     and   access    to
medication. The Defense informed the Court that MDC had been
responsive to the defense’s requests to ensure phone calls with
Counsel Gelfand. However, Counsel Espada reported that at times
MDC did not follow through with the scheduled calls and Counsel
Gelfand had faced challenges in being able to communicate with the
Defendant. To this extent, the Court expressed that no matters
regarding access to phone calls and how that was affecting the
defense had been previously brought up. To the contrary, the
defense had informed that visits had been arranged to MDC, and
only initially had there been difficulties when Counsel Gelfand
had not been in Puerto Rico. The Court warned during the first
status conference and reiterated that the defense had to make the
necessary arrangements to be in Puerto Rico to properly assist
with the Defense. See Minutes (Docket No. 29). The Court emphasized
that the Defendant had chosen to be represented by outside counsel
and that choice implicated that counsel must plan to visit MDC and
be able to assist and communicate directly with his client. It was
also clarified that it was not within the Court’s purview to
address     matters    concerning      MDC’s   administrative          procedures.
However,    to   the   extent   that    the    Defense    is     alerting   as   to
challenges in communicating with the Defendant and this implicates
her right to effective assistance of counsel and could potentially
affect the case’s schedule, the Court will issue a general order
addressing this matter.

In addition, the Court addressed the matter raised as to access to
medications. Counsel Espada informed that the Defendant required
medications for her allergies, and they are allegedly not available
at the commissary. Again, the Court emphasized that this was not
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within its purview, but it would address the manner generally to
assist with MDC.

After hearing the parties, the Court proposed dates as to deadlines
to provide Jencks material, proposed jury instructions, voir dire,
motions in limine and dispositive motions. However, the Government
expressed concerns as to the proposed dates considering that they
were too close to the established trial date. Particularly, AUSA
Collazo indicated that these dates could affect trial preparations
and that the Court had to take into consideration that there would
be witnesses coming from outside the island. The Defense also
expressed concerns in terms of the deadline for change of plea,
considering the pending mitigation material. Since the parties
expressed concerns as to the deadlines considering the upcoming
August    trial,   the   Court   asked   them   to   clarify     if   they     were
requesting a continuance, as neither the Government nor the defense
had raised objections when the trial date was set during the past
status conference. Both the Government and the Defense expressed
they were not asking the trial to be continued.

Consequently, the Court set the following schedule:

      On or before July 11, 2025, the Defendant shall file a motion
       informing if she will change her plea or proceed to trial.
      Lafler/Frye Hearing is set for July 14, 2025 at 11:00am in
       Old San Juan Courtroom.
      Motions in limine must be filed on or before July 16, 2025.
      Dispositive motions must be filed on or before July 16,
       2025.
      Jencks material is due August 4,2025.
      Proposed Jury Instructions and Voir Dire also due by August
       4,2025.
      Change of Plea or Pre-Trial Hearing is set for August 1, 2025
       at 9:00am in Old San Juan Courtroom.
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      Jury Trial remains set for August 11, 2025 in Old San Juan
       Courtroom.
      Deadline to disclose Defendant’s expert report remains set
       for June 26, 2025.

      The Court expects strict compliance with the deadlines
       imposed. If the Parties are unable to comply, they much show
       cause and the Court will consider if an extension of time is
       proper. The Court will not be lenient and will not delay
       proceeding unless there are reasons of weight.

In addition, as requested by the defense the Court issues the
following as to MDC:

On or before June 27, 2025, the MDC shall provide Counsel Espada
with the program review and any certificates earned while at MDC
as to Defendant Danielle Bertothy.

In addition, the Defendant informed through defense counsel as to
her medical condition. The matter is referred to the medical staff
at MDC for evaluation and treatment as deemed necessary. Also, the
matter of telephone communications with defense counsel is
referred to the legal department so as to facilitate the
Defendant’s communication with her out of jurisdiction legal
representation.

The Court finds that the ends of justice outweigh the interest of
the public and the Defendant in a speedy trial in view of the
defense’s need for additional time to review discovery and discuss
the case with the Defendant and begin plea negotiations.


                                         /s/ Omar Flaquer-Mendoza
                                         Omar Flaquer-Mendoza
                                         Case Manager/Courtroom Deputy Clerk
                                         to Hon. Gina R. Méndez-Miró,
                                         U.S. District Judge



                                         APPROVED BY:

                                         /s/Gina R. Méndez-Miró
                                         United States District Judge
